         Case 1:16-cv-00720-TJK Document 33 Filed 05/08/18 Page 1 of 3



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

HUMANE SOCIETY INTERNATIONAL, )
                                   )
             Plaintiff,            )
                                   )
                     v.            )
                                   )
UNITED STATES FISH AND WILDLIFE )
SERVICE, et al.,                   )                 Civil Action No. 16-720 (RBW)
                                   )
             Defendants,           )
                                   )
and                                )
                                   )
SAFARI CLUB INTERNATIONAL,         )
                                   )
             Defendant-Intervenor. )
                                   )

                                    NOTICE OF FILING

       Defendant hereby provides notice of the filing of the attached redacted Exhibits to the

Second Declaration of Carrie Hyde-Michaels, referenced in Defendant’s Motion For Summary

Judgment filed on May 4, 2018.

       May 8, 2018



                                       Respectfully submitted,


                                       JESSIE K. LIU, DC Bar #472845
                                       United States Attorney


                                       DANIEL F. VAN HORN, DC Bar #924092
                                       Chief, Civil Division


                                 By:                                    /s/
                                       W. MARK NEBEKER, DC Bar #396739
                                       Assistant United States Attorney
Case 1:16-cv-00720-TJK Document 33 Filed 05/08/18 Page 2 of 3



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                              2
          Case 1:16-cv-00720-TJK Document 33 Filed 05/08/18 Page 3 of 3




                                 CERTIFICATE OF SERVICE

       I hereby certify that service of the foregoing Notice of Filing and attachments has been

made through the Court’s electronic transmission facilities on this 8th day of May, 2018.



                                                                                 /s/
                                             W. MARK NEBEKER
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